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                   Exhibit B
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           National Institutes of Health (NIH)


       National Institutes of Health (NIH) 0                                                    •••
       Apr 24, 2021 · 0

Check-ups before your baby is born are called
prenatal visits. They help make sure you and your
baby are healthy. Your health care provider will look
for certain problems that can happen during
pregnancy. Some issues are best treated early.
Others can be prevented before they start.

Read more:
https://newsinhea Ith. nih.gov/2021 /04/pregnancy
-check-ups

                                                                                              i
                                                                                             ---)
                                   newsinhealth.nih.gov
                                    Pregnancy Check-Ups




    (6 Like                     CJ Comment                                           ?) Share

0 _., 45
All comments v


           Denise Parsons
           The horrific abuse you stand by is vile
           inhumane and nothing short of
           criminal �� . Shut it down .


                                                                                            • •
 Write a comment...                                                                   GIF   .......
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     National Institutes of Health (NIH)

      1y   Like          Reply                                                        a o·-·

      Ellen Bower
      Please close down NPRC soon and end
      this unnecessary suffering .�.. _,.....
      1y   Like          Reply                                                          so
      Jackasses Bobo
      Que dieu pardonne votre ignorance
      concernant le vivant et surtout pourquoi
      vous vous permettez d'agir ainsi.
      See translation

      1y   Like          Reply


      Beth Clouser
      I agree- what a waste� Close down the
      NPRCs�
      1y   Like          Reply


      Juan Manuel Velasquez Alvarez
      Surely messages against mistreating
      arrived to you. Take them into account
      and take heed of them to finish NOW with
      so much suffering� Short text in Spanish
      and English with a solution to end many
      injustices: bit.ly/3t5uH9r

      DOCS. GOOGLE. COM
      Mensaje para difundir / Message to
      spread

      1v   Lik�          R�nlv
                                                                                        • •
Write a comment...                                                              GIF     .......
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     National Institutes of Health (NIH)

      1y   Like            Reply                                                        1   o·-·
      Jenna Silverayne Hart
      What do these comments have to do with
      the topic at hand?
      1y   Like            Reply

           Babatige Denn
           READ UP INFO ABOUT THESE
           ARSEHOLE AMO YOULL KNOW
           1y      Like                 Reply

           Write a reply...


      Jack Dempsey




      1y   Like            Reply


      Barbara Piazza
      Massacrare gli aninali non portera a
      nessun progresso. Chiudete ii vostro
      centro���
      See translation

      1y   Like            Reply


                                                                                            • •
Write a comment...                                                                GIF       .......
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     National Institutes of Health (NIH)

      Brigitte Verbeek
      Close the NPRCs ASAP��� Send all of
      those lovely creatures to sanctuaries
      where they can live a life free of suffering�
      1y   Like             Reply


      Germaine Santon
      Close the NPRCs ASAP��� Send all of
      those lovely creatures to sanctuaries
      where they can live a life free of suffering�
      1y   Like             Reply


      Colleen Poliseno
      Please close down the NPRCS � End the
      suffering� Unnecessary and wasteful����
      1y   Like             Reply


      Colin Lyon
      Close down the NPRCs. No one deserves
      to suffer like that.
      1y   Like             Reply


      FerGi Ye
      Close down the NPRCs. No one deserves
      to suffer like that.
      1y   Like             Reply


      Ida Rolanda Meyer
      Please close down NPRCs.

                                                                                         • •
Write a comment...                                                                 GIF   .......
                    Case 1:21-cv-02380-BAH Document 31-3 Filed 05/06/22 Page 6 of 7




            National Institutes of Health (NIH)


            Rachel Sutton
            Close down the NPRCs�����
            1y   Like          Reply                                   3    0
 --
 ---
'.:.:-:-:
      -::   Dalile Diamant
            Please close down the NPRCs, choose
            compassion. Thank you �
            1y   Like          Reply


            Lei-Anne Bashir-Elahi
            CLOSE ALL NPRCs - your studies have
            demonstrated nothing useful to science,
            only proven your ignorance as humans
            1y   Like          Reply


            Lara Slingsby
            Please end the suffering now and close
            down the NPRCs �
            1y   Like          Reply                                                           so
            Marra Cid
            Please Collins, close down the NPRCs,
            stop this unbelievable suffering
            1y   Like          Reply                                                        a o·-·

            Pam Sparks
            I endorse the above comment. Please
            Close them down
                                                                                              � 'i'i
                                                                                            Q .,. ...


                                                                                               • •
Write a comment...                                                                    GIF      .......
               Case 1:21-cv-02380-BAH Document 31-3 Filed 05/06/22 Page 7 of 7




     National Institutes of Health (NIH)
      Iy   LIKe           Kep1y


      Marlene Barrett
      close down the NPRCs
      1y   Like           Reply                         3     0
      Christine Aliff
      Close your centers��� You've tortured
      enough and have no scientific
      breakthroughs to the about������
      1y   Like           Reply


      Sandra Kirchberger
      Thanks in advance
      1y   Like           Reply


      Arianna Frassine
      Please, close down the NPRCs, choose
      compassion
      1y   Like           Reply


      Jack Dempsey
      PLEASE I CLOSE DOWN
      THE NPRCs               !?
      1y   Like           Reply                                             1    0
      Marilyn Fary
      PLEASE close down the NPRCs.
      1y   Like           Reply


                                                                                           • •
Write a comment...                                                                   GIF   .......
